Case 2:03-cV-02662-.]P|\/|-de Document 40 Filed 09/02/05 Page 1 of 2 Page|D 65

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

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GARY W. CLEMONS, on behalf of
himself and all other
similarly situated employees of
U.S. Concrete, Inc. and Titan
Concrete Industries (formerly
known as Carrier Excavation &
Foundation Company),

Plaintiffs,
vl
TITAN CONCRETE INDUSTRIES
(formerly known as CARRIER
EXCAVATION & FOUNDATION
COMPANY),

Defendant.

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JUDGMENT

 

The parties having filed a Joint Motion for Approval of Settlement
Agreements and Entry of an Order of Dismissal and notified the
Court that this matter has been settled,

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in accordance
With the Order of Dismissal with prejudice, entered September 2,

2005, this case is DISMISSED.

APPROVED:
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JO P. MCCALLA
UN TED STATES DISTRICT COURT

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Clerk of Court

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case 2:03-CV-02662 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

Mark J. Levine

LAW FIRM OF LEVINE VON STERNBERG, P.C.
6363 Woodway

Ste 9 1 0

Houston, TX 77057

Jeffery Atchley

NORWOOD HOWARD & ATCHLEY
1407 Union Ave.

Ste. 807

1\/lemphis7 TN 3 8 1 04--3 62

Carolyn HoWard

NORWOOD HOWARD & ATCHLEY
1407 Union Ave.

Ste. 807

1\/lemphis7 TN 3 8 1 04--3 62

Kenneth Wooten
2004 Bethel Road
Coldwater, MS 38618

Earle J. SchWarZ
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Dan 1\/1. NorWood

NORWOOD HOWARD & ATCHLEY
1407 Union Ave.

Ste. 807

1\/lemphis7 TN 3 8 1 04--3 62

Honorable J on McCalla
US DISTRICT COURT

